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                 OFFICIAL COMMITTEE OF UNSECURED CREDITORS
            OF THE NORWICH ROMAN CATHOLIC DIOCESAN CORPORATION

                           c/o Stephen M. Kindseth, Esq., Zeisler & Zeisler, P.C.
                                10 Middle St., 15th Fl., Bridgeport, CT 06604

TO:        THE HOLDERS OF ABUSE CLAIMS CLASSIFIED IN CLASS 4 OF THE PLAN



        The Official Committee of Unsecured Creditors (the “Committee”) of The Norwich Roman
Catholic Diocesan Corporation (the “Diocese”) is providing you with this letter because you hold
an Abuse Claim that has been classified with other Abuse Claims in Class 4 of the Sixth Amended
Joint Plan of Reorganization dated February __, 2025 (the “Plan”). The Plan has been jointly
proposed by the Committee, the Diocese and the other Plan Proponents.1 This letter is being sent
to you along with the Plan and Sixth Amended Joint Disclosure Statement dated February __, 2025
(the “Disclosure Statement”) is included with this letter. The Disclosure Statement has been
approved in the Diocese’s Bankruptcy Case by the Bankruptcy Court.

      The Committee strongly recommends that all Class 4 Claimants vote to accept the
Plan by completing the certifications in, checking the box to “ACCEPT the Plan” in Item 2
of and signing the Class 4 Ballot that has been enclosed with the Plan and Disclosure
Statement and this letter.

       The Committee also strongly recommends that all Class 4 Claimants Opt-In to the
Abuse Claim Release by signing and returning the Abuse Claim Release that has also been
enclosed with the Plan and Disclosure Statement and this letter.

       The Class 4 Ballot and Abuse Claim Release must be submitted via the Voting Agent’s
balloting portal in accordance with the instructions listed on the Class 4 Ballot on or before
____, __, 2025 at _5:00 p.m. ET. (the “Voting Deadline”).

        In advance of the Voting Deadline, the Bankruptcy Court shall preside over an informal, non-
evidentiary public hearing, where the Class 4 Claimants or their counsel shall have an opportunity
to be heard regarding their Abuse Claims or regarding this Bankruptcy Case (the “Surviving
Claimants Hearing”). The Surviving Claimants Hearing shall be conducted both in-person at
the Abraham A. Ribicoff Federal Building and Courthouse, United States Bankruptcy Court,
450 Main Street, 7th Floor, Hartford, CT 06103 and via the Zoom.gov platform. The
Surviving Claimants Hearing shall commence at 10:00 a.m. (Eastern Time) on April __, 2025
and, if necessary, shall be continued at 10:00 a.m. (Eastern Time) on April __, 2025. If any
Class 4 Claimant would like the opportunity to make a statement at the Surviving Claimants
Hearing, or would like to obtain more information concerning the Surviving Claimants Hearing,
the Class 4 Claimant or his or her attorney should contact counsel to the Committee, Stephen M.
Kindseth, Esq., as soon as possible, at one of the addresses for him provided at the end of this
letter.

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    This letter incorporates the definitions of terms set forth in the Plan.
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       On July 15, 2021, the Diocese filed a voluntary petition under Chapter 11 of the Bankruptcy
Code with the Bankruptcy Court. On July 29, 2021, the Office of the United States Trustee
appointed five individuals who hold Abuse Claims in Class 4 as the Committee. The Committee
represents the interests of Class 4 Claimants, and its purposes include, among other things,
maximizing recoveries for holders of Class 4 Abuse Claims, ensuring fairness in the Diocese’s
Bankruptcy Case, and facilitating the reorganization of the Diocese on terms that are fair and
reasonable.

        As noted above, the Committee is a joint proponent of the Plan. The Plan is based upon
extensive negotiation and litigation over a more than three- and one-half-year period, including
multiple rounds of Bankruptcy Court ordered mediation and extensive proceedings in the
Bankruptcy Court. The Plan embodies a global settlement of numerous complex issues. The
Committee believes that the agreements embodied in the Plan and the recoveries provided to
holders of Class 4 Abuse Claims represent a fair and reasonable resolution of the interests and
rights of the various parties, and in particular will result in the maximum possible recovery by
holders of Class 4 Abuse Claims taking into account and balancing the resources of the Diocese
and the other Plan Participants, the complexity, risk and cost of further litigation, and the desire to
get holders of Class 4 Abuse Claims a recovery as soon as possible in all of the circumstances.

        If the Plan is confirmed by the Bankruptcy Court, a settlement pool will be funded by the
Diocese, the Diocese’s insurer, Catholic Mutual, the Parishes and other Catholic Entities that
operate within the Diocese’s geographical area, and certain other Participating Parties. The
Committee estimates that the aggregate value of all contributions to the settlement pool will be up
to $31 million. The precise amount of the settlement pool will depend on a number of factors,
including the sale price for certain real estate assets. As noted above, the Committee strongly
believes that this aggregate settlement amount represents the greatest sum that could have been
recovered for holders of Class 4 Abuse Claims without significant further delays, protracted and
costly litigation, and a serious risk of loss.

        You will receive a share of the settlement pool. The amount of your share of the settlement
pool is subject to certain terms and conditions set forth in the Plan and the Trust Agreement which
is attached to the Plan as Exhibit A. In particular, the Trust Distribution Plan sets forth the specific
process through which all Abuse Claims in Class 4 will receive Distributions, and is appended as
Exhibit 1 to the Trust Agreement.

       Abuse Claims in Class 4-A (those that were filed in the Bankruptcy Case before the March
15, 2022 Claims Bar Date or that are treated by the Bankruptcy Court as having been filed in the
Bankruptcy Case before the Claims Bar Date) shall be assessed by the Abuse Claims Reviewer
appointed by the Bankruptcy Court. The Committee already proposed and the Bankruptcy Court
has already approved the Hon. Salvator C. Agati to serve as the Abuse Claims Reviewer.
Distributions to each Class 4-A Claimant shall then be made by the Trustee of the Trust based on
the Abuse Claims Reviewer’s assessments of Abuse Claims in Class 4-A.

       The Committee estimates that the average recovery for Class 4-A Abuse Claims (other than
those precluded by the applicable statute of limitations under state law and referred to as Barred
Abuse Claims) will be approximately $310,000. The Committee estimates that the average

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recovery for Barred Abuse Claims (again, those otherwise precluded by the applicable statute of
limitations under state law) in Class 4-A will be approximately $46,000.

        To be clear, these are estimated averages. For any particular Class 4-A Claimant, the
amount received from the Trust may be more, if not substantially more, or less, if not substantially
less than these estimated averages based on the results of the assessment process pursuant to the
Trust Distribution Plan.

        After receiving the contributions made by the Diocese and the Participating Parties as
required by the Plan and after the Abuse Claims Reviewer has completed his assessment of the
Claims 4-A Claims, the Trust will make Distributions pursuant to the Trust Distribution Plan to
Class 4-A Claimants. The Committee anticipates that the majority of Distributions to Class 4-A
Claimants will be paid within 3 to 4 months from the Effective Date of the Plan. The balance of
these Distributions will be paid after the non-cash Trust Assets have been liquidated by the Trustee
of the Trust.

        The Plan preserves each Late-Filed Abuse Claimant’s legal right to establish “excusable
neglect” in not having filed their proof of claim prior to the Claims Bar Date. If a Late-Filed
Abuse Claimant is successful in establishing their excusable neglect under applicable law, they
will be treated in Class 4-A like all timely-filed Class 4-A Abuse Claimants. If a Late-Filed
Abuse Claimant is not successful, their Abuse Claim will be Disallowed and they will not receive
any Distribution pursuant to the Plan.

        Alternatively, in order to avoid the cost and risk of attempting to establish their excusable
neglect in not having filed their Abuse Claim in the Bankruptcy Case prior to the Claims Bar
Date, the Plan provides that each Late-Filed Abuse Claimant may elect on their Ballot to be
treated in Class 4-B, referred to as the Convenience Class, as holding a Convenience Claim.
Such Late-Filed Abuse Claimant may then receive on account of their Allowed Abuse Claim a
single lump-sum payment within forty-five (45) days of the Effective Date. A Class 4-B
Claimant (other than Barred Abuse Claims in Class 4-B) will receive a lump sum of $50,000 and
a Barred Abuse Claimant in Class 4-B will receive a lump sum of $20,000.

       For all Late-File Abuse Claimants who wish to be treated in the Convenience Class,
Class 4-B, and receive an expedited lump-sum payment within forty-five (45) days on
account of their Allowed Abuse Claim, they must check the box in Item 3 of the Ballot
indicating their election to be treated as holding a Convenience Claim.

        In order to receive a Full Distribution under the Plan—meaning your entire share of all of
the contributions paid by the Diocese, Catholic Mutual and the Participating Parties pursuant to
the Plan—you must sign the Abuse Claims Release. If you not sign the Abuse Claims Release, you
shall only receive Partial Distributions on account of your Abuse Claim, which will be derived
from only those contributions made by the Diocese. Such Partial Distributions will equal only an
estimated forty-three percent (43%) of the Full Distributions. Thus, by electing to not sign and
return the Abuse Claim Release, you will only receive forth-three percent (43%) of what you would
have received had you signed and returned the Abuse Claim Release.



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        If you sign and return the Abuse Claim Release, you will be, among other things, fully and
finally releasing your Abuse Claims against and giving up all of your rights to sue or seek any
recovery or relief of any kind from the Participating Parties. The Participating Parties include the
following: Diocese Parties; Catholic Entity Parties (including all of the Parishes within the
Diocese, St. Bernard and Mercy); ACA (The Annual Catholic Appeal, Inc.); Xavier; Oceania (The
Oceania Province of the Congregation of Christian Brothers); Mount St. John; and Catholic Mutual
Parties. If you Opt-In and sign the Abuse Claims Release, the Diocese and the Participating Parties
will not be permitted to object to your Abuse Claim.

        If you decide not to sign and return the Abuse Claims Release, the Plan provides that you
have then elected to Opt-Out. The Plan permits the Diocese and the Participating Parties to object
to the allowance of any Abuse Claim held by an Abuse Claimant that elects to Opt-Out.

       You are not legally obligated to sign the Abuse Claim Release and should only do so
freely and voluntarily. However, you will not receive Full Distributions, and your Abuse
Claim may be subject to objection, unless you sign and return the Abuse Claim Release.

         In addition to the monetary recoveries under the Plan, after extensive discussions between
the Committee, Diocese and Parishes, the Diocese has agreed to undertake certain commitments
and impose various policies and protocols in addition to those already instituted in order to
facilitate the survivors’ healing process, impose an appropriate measure of accountability, further
the reconciliation between the survivors and other members of the community, the Diocese and
the Catholic Church, and prevent, to the greatest extent possible, any future Abuse from occurring
within the Diocese. The Non-Monetary Commitments to Healing and Reconciliation are included
in this mailing and attached to the Plan as Exhibit G.

        You are urged to carefully read the Plan and Disclosure Statement and the exhibits
attached thereto in their entirety. The description of the Plan and Disclosure Statement in
this letter is intended to be only a summary of certain selected provisions prepared by the
Committee.

       There is always a risk that further litigation and/or a later settlement could have
resulted in higher or lower recoveries for Holders of unsecured Claims than provided in the
Plan and Disclosure Statement. The Committee does not guarantee any particular result in
the Debtor’s Bankruptcy Case. Although the Bankruptcy Court has authorized this
recommendation letter to be included as part of the solicitation package, such authorization
does not constitute an endorsement by the Bankruptcy Court of the merits of the Plan and
Disclosure Statement or the accuracy or completeness of the information contained herein.

       This communication does not constitute, and shall not be construed as, a solicitation
by any individual member of the Committee or any of its representatives. The Committee
reserves the right to change its position and recommendation that voting creditors vote to
accept the Plan, or file any objection, response or other pleading in regard to the Plan, the
Disclosure Statement or any other matter in the Debtor’s Bankruptcy Case, to the extent that
subsequent developments so warrant, as determined by the Committee, or otherwise.



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       If you have any questions or concerns regarding the proposed Plan, or would like to
participate in the Surviving Claimants Hearing, you should contact counsel for the
Committee at Zeisler & Zeisler, P.C., 10 Middle St., 15th Fl., Bridgeport, CT 06604, Attn:
Stephen M. Kindseth (email: skindseth@zeislaw.com).




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